  Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 1 of 39 Page ID #:1




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   Crystal Carpenter and Jordan Cason
 9
10                     UNITED STATES DISTRICT COURT
11                    CENTRAL DISTRICT OF CALIFORNIA

12
13 Crystal Carpenter, an individual on         Case No.   2:21-cv-9875
   behalf of herself, the public, and all
14
   persons similarly situated; and
15 Jordan  Cason, an individual on              Class Action Complaint for:
   behalf of himself, the public, and all         1. Unfair Competition (California
16 persons similarly situated;
                                                     Financial Code);
17                                                2. Unfair Competition
                Plaintiffs,                          (Unconscionability);
18
         v.                                       3. Money Had and Received;
19                                                4. Declaratory Relief;
   Opportunity Financial, LLC, a                  5. RICO Association-in-Fact
20
   limited liability company; and John               Enterprise;
21 Does 1–10;                                     6. RICO Conspiracy; and
22                                                7. Fraudulent Concealment.
                Defendants.
23
                                               DEMAND FOR JURY TRIAL
24
25
26
27
28
                                                1
                                            complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 2 of 39 Page ID #:2




 1                                            TABLE OF CONTENTS
 2 I.        Introduction......................................................................................... 3
 3 II.       Parties .................................................................................................. 4
 4 III.      Jurisdiction and Venue......................................................................... 6
 5 IV.       Facts .................................................................................................... 7
 6           A.       The California Financial Code caps the interest rate on
                      consumer loans under $10,000. .................................................. 7
 7
                      1.       The California Fair Access to Credit Act caps the
 8                             interest rate at about 36% per year for loans of $2,500
 9                             to $9,999. ......................................................................... 7
10                    2.       California law caps the interest rate at no more than
                               30% per year for loans under $2,500. ............................... 8
11
                      3.       Loans exceeding these limits are void. ............................... 8
12
             B.       Opportunity Financial devised a rent-a-bank scheme in an
13                    unsuccessful attempt to evade California law. ............................ 9
14                    1.       Opportunity Financial is the true lender because it holds
15                             the predominant economic interest and bears the risk of
                               loss. ................................................................................. 10
16
                      2.       Opportunity Financial is the true lender because it
17                             handles all acquisition, all marketing, all underwriting,
                               and all servicing. ............................................................. 11
18
                      3.       Opportunity Financial is the true lender because it bears
19                             all responsibilities under the loan contracts. .................... 13
20           C.       Opportunity Financial’s loan contracts are forms prepared by
21                    Opportunity Financial and forced on the borrowers. ................ 15
22           D.       The loans’ arbitration clauses are void and unenforceable. ....... 15
23           E.       Ms. Carpenter and Mr. Cason’s loans are both for 159.56%
                      APR over an 11 month term. .................................................... 19
24
     V.      Public Interest Allegations .................................................................. 20
25
     VI.     Class Action Allegations .................................................................... 21
26
     VII. Causes of Action ................................................................................ 24
27
     VIII. Prayer for Relief................................................................................. 36
28
                                                             2
                                                          complaint
  Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 3 of 39 Page ID #:3




 1 I.     Introduction
 2        1.     160% APR. That’s the interest rate on Defendant Opportunity
 3 Financial’s loans to millions of borrowers in California and in over 30 other
 4 states.
 5        2.     The interest rate is high everywhere. And in California, it’s also
 6 illegal. Here the max rate caps out at about 36%.
 7        3.     Yet Opportunity Financial continues loaning money at 160% APR,
 8 both in states where it’s legal and in states where it’s not.
 9        4.     Opportunity Financial’s conduct in both sets of states is identical. It
10 markets the same loan product, at the same 160% interest rate, under the same
11 trademarked “OppLoans” name. It underwrites the loans. It originates the
12 loans. It services the loans. It enforces the loans. It even claims the loans on its
13 financial reports.
14        5.     The one difference? In states where 160% APR is legal,
15 Opportunity Financial names itself as the lender in the loan contracts.
16        6.     But in states where it’s illegal, Opportunity Financial names two
17 entities in those contracts: Opportunity Financial as the loan servicer and Utah
18 state-chartered FinWise Bank as the purported lender. Then, after the loans are
19 signed, Opportunity Financial buys 95% of the loan from FinWise and goes
20 about business as usual.
21        7.     This is a sham. Opportunity Financial is the true lender on these
22 loans. It bears all risk of loss, and it holds the predominant economic interest.
23 Not FinWise.
24        8.     Opportunity Financial can’t use this rent-a-bank scheme to
25 immunize itself from California law. Courts have repeatedly held that rent-a-
26 bank schemes and similar rent-a-tribe schemes are illegal and can’t circumvent
27 state law. E.g., Consumer Fin. Prot. Bureau v. CashCall, Inc., No. 15-cv-7522,
28 2016 WL 4820635, at *6 (C.D. Cal. Aug. 31, 2016); People v. Miami Nation
                                              3
                                          complaint
  Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 4 of 39 Page ID #:4




 1 Enters., 2 Cal. 5th 222, 252–56 (2016). These schemes have even landed folks
 2 in federal prison on racketeering charges. E.g., U.S. Department of Justice,
 3 Scott Tucker Sentenced To More Than 16 Years In Prison For Running $3.5
 4 Billion Unlawful Internet Payday Lending Enterprise,
 5 https://www.justice.gov/usao-sdny/pr/scott-tucker-sentenced-more-16-years-
 6 prison-running-35-billion-unlawful-internet-payday (Jan. 5, 2018).
 7         9.    For these reasons, California law applies to these loans and
 8 invalidates them.
 9         10.   This conclusion’s not controversial. Opportunity Financial has
10 virtually conceded as much in a case over its loans in DC. There, the DC
11 Attorney General sued Opportunity Financial over the same rent-a-bank
12 scheme. That lawsuit ended with Opportunity Financial agreeing to:
13               •     pay $1.75 million;
14               •     forgive $640,000 in past due interest; and
15               •   not offer, provide, advertise, or service any loans over the
                 maximum DC interest rate of 24% APR.
16
           11.   This action seeks to hold Opportunity Financial accountable for its
17
     racketeering and illegal loans in California. It seeks damages and restitution. It
18
     also seeks a judicial determination that Opportunity Financial is the true lender
19
     on the loans, that California law applies to these loans, and that the loan
20
     contracts and arbitration clauses are void and unenforceable.
21
     II.   Parties
22
           12.   Plaintiff Crystal Carpenter is a natural person domiciled in Santa
23
     Barbara County, California. This is true as of both today’s date and the dates
24
     when Ms. Carpenter entered her loan contracts with Opportunity Financial.
25
           13.   Plaintiff Jordan Cason is a natural person domiciled in San Joaquin
26
     County, California. This is true as of both today’s date and the dates when Mr.
27
     Cason entered his loan contracts with Opportunity Financial.
28
                                             4
                                          complaint
  Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 5 of 39 Page ID #:5




 1        14.     Defendant Opportunity Financial, LLC is a limited liability
 2 company. Its principal place of business is in Chicago, Illinois.
 3        15.     Opportunity Financial’s members are: DAV 513 Revocable Trust,
 4 JSK Management Holdings, LLC, LTHS Capital Group LP, MCS 2017 Trust
 5 FBO Tracy Ward, MCS 2017 Trust FBO Todd Schwartz, Ward Capital Group
 6 LP, OppFi Management Holdings, LLC, ACM OppLoans Warrants VII LLC,
 7 Bruce Hammersley, Ray Chay, Jessica LaForte, Inoh Choe, Jeremiah Kaye, and
 8 CJ Newton.
 9        16.     Opportunity Financial’s natural person members are all domiciled
10 in Illinois.
11        17.     Opportunity Financial’s trust members comprise persons who are
12 all domiciled in Illinois.
13        18.     Opportunity Financial’s limited liability company members
14 comprise natural-person members who are all domiciled in either Illinois or
15 Texas.
16        19.     Opportunity Financial’s limited partnership member comprises
17 natural-person partners who are all domiciled in Illinois.
18        20.     No Opportunity Financial owner or member is a citizen of
19 California.
20        21.     No Opportunity Financial owner or member has its principal place
21 of business in the State of California.
22        22.     Defendants John Does 1–10 are unidentified parties who are owned
23 or controlled by Opportunity Financial and who participated in the enterprise
24 with Opportunity Financial. They funded, serviced, collected, or profited from
25 the illegal loans. Does 1–10 are not citizens of California and are citizens of
26 Illinois or Texas.
27
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                                          complaint
  Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 6 of 39 Page ID #:6




 1 III.   Jurisdiction and Venue
 2        23.    This Court has subject matter jurisdiction over this action for three
 3 reasons. First, it has federal question jurisdiction over the RICO claims and
 4 supplemental jurisdiction over the state law claims.
 5        24.    Second, the amount in controversy—the aggregate amount sought
 6 by the Class—exceeds $5 million, and at least one Plaintiff is diverse from at
 7 least one Defendant. Therefore, the Court has subject matter jurisdiction under
 8 the Class Action Fairness Act.
 9        25.    Third, it has diversity jurisdiction over the individual claims
10 because there is complete diversity and the amount in controversy is over
11 $75,000. Ms. Carpenter and Mr. Cason are domiciled in and citizens of
12 California. Opportunity Financial is not a citizen of California; it is a citizen of
13 Illinois and Texas. As for the Class, it comprises persons who were California
14 residents at the time of receiving the loan.
15        26.    This Court has specific personal jurisdiction over Opportunity
16 Financial because it has intentionally availed itself of and purposefully directed
17 its activities towards the State of California by doing business here.
18        27.    Opportunity Financial solicited and entered loans with Ms.
19 Carpenter, Mr. Cason, and the Class, all of whom were California residents
20 and citizens at the time of entering the loans. And Opportunity Financial knew
21 they were California residents and citizens when they made the loans.
22        28.    Opportunity Financial spearheaded the rent-a-bank scheme and
23 implemented that scheme in California. It knew the scheme would affect
24 Californians. What’s more, Opportunity Financial did all this while operating
25 as a licensed California Finance Lender.
26        29.    Venue is proper in the Central District of California because a
27 substantial part of the events giving rise to the claim occurred here. When
28
                                             6
                                          complaint
  Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 7 of 39 Page ID #:7




 1 Opportunity Financial entered the loan with Ms. Carpenter, she was a citizen
 2 of Santa Barbara County.
 3 IV.    Facts
 4        A.    The California Financial Code caps the interest rate on consumer loans
          under $10,000.
 5
          30.   The California Financial Code limits the interest that lenders may
 6
     charge on loans under $10,000.
 7
          31.   Opportunity Financial is a licensed California Finance Lender and
 8
     has been since 2014. Its license number is 603K647.
 9
          32.   Opportunity Financial is therefore subject to the California
10
     Financial Code and must comply with it.
11
                1.    The California Fair Access to Credit Act caps the interest rate at
12              about 36% per year for loans of $2,500 to $9,999.
13        33.   The California Fair Access to Credit Act (“Act”) went into effect
14 on January 1, 2020.
15       34. In enacting the Act, the California Legislature stated:
16              The lack of guidance from the Legislature on allowable
17              interest rates for loans of $2,500 - $10,000 has led to a
                “wild west” where unscrupulous lenders are charging
18              interest rates from 100% to more than 200% on these
19              larger installment loans. Consumers are struggling under
                these egregious terms, and at least one out of three
20              consumers default on these debts.
21              These high default rates and unconscionable interest rates
                have caused turmoil in the regulatory environment ….
22
                As Chair and Member of the Assembly Banking
23              Committee, we have worked over the past year to
24              negotiate a compromise between consumer advocates
                and responsible lenders in California. The result of those
25              negotiations is AB 539. The bill is supported a large
26              coalition of community and faith-based organizations,
                cities and counties, and responsible lenders who
27              recognize that 100% interest rates and high default rates
                are harming more than 100,000 California families each
28              year and that we must act to protect our consumers.
                                               7
                                           complaint
  Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 8 of 39 Page ID #:8




 1 Report of Sen. Judiciary Com., AB 539, July 9, 2019,
   http://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=2019202
 2 00AB539.
 3        35. To curb these abusive lending practices, the Act limits the interest
 4 rates that finance lenders may charge on consumer loans of $2,500 to $9,999.
 5 Cal. Fin. Code § 22304.5. The maximum interest rate for these loans is 36%,
 6 plus the federal funds rate. Id.
 7       36. Since January 1, 2020, the federal funds rate has never exceeded
 8 1.6%. Since April 2020, the federal funds rate hasn’t exceeded .1%.
 9      37. Thus, the statutory maximum interest rate for all such loans issued
10 since January 1, 2020, has been no greater than 37.6%.
11             2.    California law caps the interest rate at no more than 30% per year for
12               loans under $2,500.
13         38.   The California Financial Code also limits the interest rate on loans
14 under $2,500. The maximum rate on these loans is no more than 30% per
15 year. Cal. Fin. Code § 22303.
16               3.     Loans exceeding these limits are void.
17         39.   If a lender willfully charges, contracts for, or receives more than the
18 maximum interest rate, the loan contract is void. Cal. Fin. Code § 22750(a). So
19 no person has any right to collect or receive any principal, charges, or
20 recompense in connection with that transaction. Id. The same goes if the lender
21 willfully violated the California Financial Code. Id.§ 22750(b).
22         40.   If a lender charges, contracts for, or receives more than the
23 maximum interest rate for a reason other than a willful act, the lender forfeits
24 all interest and charges on the loan. Cal. Fin. Code § 22751. All the lender is
25 allowed to collect is the loan’s principal. Id.
26         41.   To prevent companies from circumventing the law by involving an
27 out-of-state lender at some step in the lending process, California law provides
28 that “[a]ny person who contracts for or negotiates in this state a loan to be
                                                8
                                            complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 9 of 39 Page ID #:9




 1 made outside the state for the purpose of evading or avoiding the provisions of
 2 this division is subject to the provisions of this division.” Cal. Fin. Code §
 3 22324.
 4         42.    For these reasons, even if a court were to hold (incorrectly) that
 5 Opportunity Financial does not have the predominant economic interest in the
 6 loans and that FinWise is the true lender, Opportunity Financial itself would
 7 still violate California law by negotiating for and contracting the loans to be
 8 made out of state.
 9         43.    Defendants willfully violated California law.
10         B.    Opportunity Financial devised a rent-a-bank scheme in an unsuccessful
           attempt to evade California law.
11
           44.    In 2012, Opportunity Financial started its business as a storefront
12
     lender. The next year it moved its business online and focused on nonprime
13
     consumers.
14
           45.    Opportunity Financial now issues loans in around 35 states.
15
           46.    In four states, Opportunity Financial closes subprime loans (its
16
     OppLoans product) in its own name and does not engage in a rent-a-bank
17
     scheme. Those states do not have usury laws prohibiting those loans, so
18
     Opportunity Financial’s conduct in those states is lawful.
19
           47.    Opportunity Financial’s loans to Californians are always offered at
20
     around 160% APR. The total principal ranges from $500 to $4,000. Typically
21
     the repayment term is around 11 months, but it can range from 9 to 18
22
     months.
23
           48.    Opportunity Financial has also expanded into the near-prime
24
     market and may have at least some lawful operations in that segment.
25
26
27
28
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                                           complaint
Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 10 of 39 Page ID #:10




 1               1.   Opportunity Financial is the true lender because it holds the
                 predominant economic interest and bears the risk of loss.
 2
           49.   To create a veneer of legitimacy, Opportunity Financial has
 3
     implemented a rent-a-bank scheme. It crafts the loan contract as purportedly
 4
     between one of three Utah state-chartered banks (generally FinWise Bank) and
 5
     the California consumer. These banks are wholly located in the State of Utah
 6
     and have no branches outside that state.
 7
           50.   But what Opportunity Financial puts on paper does not change the
 8
     reality: it is the true lender on these loans. Opportunity Financial holds the
 9
     predominant economic interest. It bears the risk of loss and poor performance.
10
     And it funds the expenses for the provision of the loans.
11
           51.   Shortly after every loan is entered, Opportunity Financial buys
12
     95% of each loan from FinWise Bank. It makes these purchases daily.
13
           52.   Opportunity Financial takes the risk of poorly performing loans. Its
14
     accounting statements include provisions for losses on the loans, costs related
15
     to its funding of the purchases of the loans, and the costs of loan origination.
16
           53.   By comparison, FinWise’s risk and reward on these loans is
17
     virtually nil. Its fees and expenses are capped under its agreements with
18
     Opportunity Financial. And Opportunity Financial’s assumption of the risk and
19
     purchase of the loans is guaranteed through their agreements with FinWise,
20
     including a requirement that Opportunity Financial hold cash in blocked
21
     accounts at FinWise.
22
           54.   Opportunity Financial provides FinWise with three more layers of
23
     security to guarantee Opportunity Financial’s purchase of the loans: a cash
24
     collateral account, an alternate collateral account (both with defined minimum
25
     balances), and letters of credit for the benefit of FinWise.
26
           55.   Driving home the point that Opportunity Financial is the true
27
     lender on these loans is its own financial statements. These statements identify
28
                                              10
                                           complaint
Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 11 of 39 Page ID #:11




 1 Opportunity Financial’s “Key Performance Metrics.” The lead metric is “Total
 2 Net Originations.” That number “includes both originations by bank partners
 3 on the OppFi platform, as well as direct originations by OppFi.” Other key
 4 metrics are the charge-off percentages, auto-approval rates, and marketing
 5 costs—all things handled by Opportunity Financial.
 6               2.     Opportunity Financial is the true lender because it handles all
                 acquisition, all marketing, all underwriting, and all servicing.
 7
           56.   Opportunity Financial handles all acquisition, all marketing, all
 8
     underwriting, and all servicing of the loans. For this reason as well,
 9
     Opportunity Financial is the true lender.
10
           57.   Opportunity Financial pays for all the marketing of the loans. This
11
     costs the company tens of millions of dollars each year.
12
           58.   Opportunity Financial uses several methods to find potential
13
     borrowers. It sends prescreened direct mail. It employs email campaigns
14
     directed at borrowers. It uses search engine optimization, online lead
15
     generators, social media, and multimedia.
16
           59.   Opportunity Financial also targets consumers through other digital
17
     channels, as well as through its website, opploans.com.
18
           60.   Opportunity Financial markets the loans as “OppLoans.” This is a
19
     trademarked product of Opportunity Financial’s. They are not named
20
     “FinWiseLoans.”
21
           61.   Opportunity Financial creates the marketing materials and product
22
     offerings to promote the loans. Both the program guidelines used to operate the
23
     OppLoans program and the advertising materials that Opportunity Financial
24
     uses to promote OppLoans are Opportunity Financial’s intellectual property.
25
           62.   Opportunity Financial is also the servicer for the loans. It has the
26
     exclusive license to use customer information and the right to contact and
27
     communicate with borrowers about potential loans.
28
                                               11
                                            complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 12 of 39 Page ID #:12




 1        63.   Consumers who wish to obtain a loan must do so through
 2 Opportunity Financial’s website, opploans.com. There is no other way to
 3 obtain the loans.
 4        64.   Consumers cannot obtain a loan through FinWise.
 5        65.   FinWise’s website contains a page about loans offered by FinWise.
 6 That page markets FinWise’s own lending products, none of which are the
 7 OppLoans product or anything remotely similar.
 8        66.   That page also contains a notice trumpeting products by FinWise’s
 9 partners: “If you have received offers from our other Partners, please click the
10 button below. Our Partners include American First Finance, Liberty Lending,
11 Lendingpoint, OppLoans, Mulligan Funding, Behalf and rise.” FinWise itself
12 recognizes these are offers from OppLoans, not from FinWise.
13        67.   Clicking that button then leads to a page showing 11 “partners”—
14 i.e., the loans’ true lenders. One of these is Opportunity Financial. The FinWise
15 website contains a three sentence description of Opportunity Financial’s loans,
16 and directs visitors to Opportunity Financial’s website to “Learn More.”
17        68.   Opportunity Financial’s duties include finding and identifying
18 eligible borrowers, processing the loan applications, maintaining the originals
19 or copies of all loan documents, performing underwriting on the loan,
20 establishing the account into which the proceeds from the loans are deposited,
21 servicing the loans, collecting on the loans, and instituting collections and legal
22 proceedings against borrowers who have defaulted.
23        69.   Opportunity Financial executes all notices to consumers about the
24 legal status of the loans and has the authority to grant loan modifications to
25 borrowers.
26        70.   Opportunity Financial screens potential borrowers based on its
27 own proprietary lending criteria. Nearly all the lending decisions for the loans
28 are made by Opportunity Financial and its proprietary credit-decision-making
                                            12
                                         complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 13 of 39 Page ID #:13




 1 algorithms. In total, the application and approval process takes around five
 2 minutes and is handled solely by Opportunity Financial.
 3         71.   After a loan is approved, Opportunity Financial closely monitors
 4 the borrowers’ bank account balances. They are looking for cash. If they see a
 5 relatively large balance, Opportunity Financial emails these borrowers and tells
 6 them they can get more money in their pocket if they refinance. That email then
 7 directs them to Opportunity Financial’s website to complete the refinance
 8 application, which will ultimately refinance them into a new loan at the same
 9 160% interest rate.
10         72.   Opportunity Financial sends these unsolicited refinance offers for
11 one purpose: to get Opportunity Financial more money, at the cost of forcing
12 its borrowers into deeper and deeper debt spirals. Opportunity Financial has
13 found their marks, and it will bleed them dry.
14         73.   Opportunity Financial spends millions of dollars each year to
15 support its national provision of the OppLoans product. This money is spent
16 on advertisements, loan origination, collection, and technology costs.
17               3.    Opportunity Financial is the true lender because it bears all
                 responsibilities under the loan contracts.
18
           74.   Opportunity Financial bears all responsibilities under the loan
19
     contracts with the borrowers. FinWise bears none. For this reason too,
20
     Opportunity Financial is the loans’ true lender.
21
           75.   The loans don’t provide any address or contact information for
22
     FinWise. Instead, they provide Opportunity Financial’s address, phone number,
23
     and email address. And the loans direct that all communications go through
24
     Opportunity Financial.
25
           76.   The loans mention Opportunity Financial at least fifteen times.
26
     These references include:
27
                 •    a statement identifying Opportunity Financial and its address
28               and phone number as the address for FinWise;
                                               13
                                            complaint
Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 14 of 39 Page ID #:14




 1             •     “If the amount actually owing on the Maturity Date is more
               than the amount shown on the above Payment Schedule, then: (i)
 2             by contacting our servicer Opportunity Financial, LLC
 3             (‘OppLoans’) at (855) 990-9500 or info@opploans.com”;
 4             •    “If you wish to change your payment method, you may
               contact us by communicating with Opploans at (855) 990-9500 or
 5             info@opploans.com”;
 6             •     “You understand and acknowledge that you may terminate
 7             this authorization by notifying us at (855) 990-9500 or
               info@opploans.com or by mail to OppLoans, ATTN: Compliance
 8             Department, One Prudential Plaza, 130 E Randolph St, Suite 3400,
               Chicago, IL 60601”;
 9
               •     “You may elect to receive advance notice of the date and
10             amount of each regularly recurring Automated Payment that varies
11             from the scheduled payments if you notify us by communicating
               with OppLoans at (855) 990-9500, or at One Prudential Plaza, 130
12             E Randolph St, Suite 3400, Chicago, IL 60601”;
13             •     “If you believe we have initiated a payment in a manner not
14             contemplated by this authorization, then please contact OppLoans
               at (855) 990-9500, or One Prudential Plaza, 130 E Randolph St,
15             Suite 3400, Chicago, IL 60601”;
16             •     “You understand and acknowledge that you may terminate
               our authority to create and submit Remotely Created Checks by
17             notifying us at (855) 990-9500 or info@opploans.com or by mail to
18             OppLoans, ATTN: Compliance Department, One Prudential Plaza,
               130 E Randolph St, Suite 3400, Chicago, IL 60601”;
19
               •     “You may elect to receive advance notice of the date and
20             amount of each regularly recurring Remotely Created Check that
21             varies from the scheduled payments if you notify us by
               communicating with OppLoans at (855) 990-9500, or at One
22             Prudential Plaza, 130 E Randolph St, Suite 3400, Chicago, IL
               60601”;
23
               •     “If you believe we have presented a Remotely Created Check
24             in a manner not contemplated by this authorization, then please
25             contact OppLoans at (855) 990-9500, or One Prudential Plaza,
               130 E Randolph St, Suite 3400, Chicago, IL 60601”;
26
               •    “You may cancel the note by contacting OppLoans at (855)
27             990-9500”;
28             •    “For questions, please contact: (855) 990-9500”; and
                                         14
                                      complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 15 of 39 Page ID #:15




 1              •     “We may assign this Note at any time without your
                permission. Our transfer may be made by causing a registration of
 2              transfer in the record of ownership as described below, without
 3              providing you with any other notice …. Ownership of this Note
                (and rights hereunder, including with respect to principal and
 4              interest) shall be registered in a record of ownership maintained by
 5              an entity specifically designated for such purposes. You hereby
                irrevocably appoint Opportunity Financial, LLC as your agent
 6              acting solely for the purpose of maintaining such record of
                ownership.”
 7
          C.    Opportunity Financial’s loan contracts are forms prepared by Opportunity
 8        Financial and forced on the borrowers.
 9        77.   Opportunity Financial uses identical loan contracts (other than the
10 principal amounts) for all loans to the Class.
11       78. The loan contracts are forms prepared by Opportunity Financial
12 and are contracts of adhesion. The terms are forced on the borrowers, and the
13 borrowers have no ability to negotiate them.
14        79.   The loans, written in size 4.5 font, are practically illegible.
15        80.   The only persons who signs the loan contracts are the borrowers.
16        81.   Opportunity Financial does not sign them.
17        82.   FinWise does not sign them.
18        83.   Nobody signs the loans on behalf of Opportunity Financial,
19 FinWise, or any other rented bank.
20      84. After the loan contracts are purportedly consummated, the
21 borrowers receive a copy of the loan contract. That contract is signed only by
22 the borrower—nobody else.
23        D.     The loans’ arbitration clauses are void and unenforceable.
24        85.   Opportunity Financial’s loans contain arbitration clauses. Within
25 that clause is also a class action and jury trial waiver.
26       86. However, any issues related “validity, enforceability, coverage, or
27 scope” of that clause “shall be determined by a court.”
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                                           complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 16 of 39 Page ID #:16




 1        87.   Arbitration clauses are invalid if the contract is void under
 2 generally applicable state law. 9 U.S.C. § 2; AT&T Mobility LLC v.
 3 Concepcion, 563 U.S. 333, 339, 343 (2011) (“This saving clause permits
 4 agreements to arbitrate to be invalidated by ‘generally applicable contract
 5 defenses, such as fraud, duress, or unconscionability,’ but not by defenses that
 6 apply only to arbitration or that derive their meaning from the fact that an
 7 agreement to arbitrate is at issue.”).
 8        88.   The arbitration clause here is void for six reasons.
 9        89.   First, the arbitration clause is void under Consumer Financial Code
10 § 22750. Opportunity Financial willfully charged, contracted for, or received
11 interest greater than permitted by Division 9 of the California Financial Code
12 (including Sections 2303 and 22304.5). It intentionally charged, contracted for,
13 and received interest rates greater than what California law allowed. It knew
14 that California caps the interest rate at no more than roughly 36% APR, and
15 still it loaned money at 160%.
16        90.   Opportunity Financial also willfully violated Division 9 in the
17 making or collection of loans. It knew that courts have repeatedly held that
18 rent-a-bank schemes and similar rent-a-tribe schemes are illegal or otherwise
19 ineffective to circumvent state law. It also knew the extreme regulatory risk of
20 pursuing this scheme. Opportunity Financial could not reasonably believe that
21 the loans complied with California law.
22        91.   Second, the arbitration clause is invalid and unenforceable because
23 it is unconscionable. The arbitration clause is procedurally unconscionable.
24 They are Opportunity Financial’s form contracts offered on a take-it-or-leave-it
25 basis to financially desperate borrowers. They are contracts of adhesion, and
26 Opportunity Financial had all bargaining power.
27        92.   The arbitration clause is also substantively unconscionable. It
28 requires applying Utah law to the dispute. Utah law does not have any caps on
                                               16
                                            complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 17 of 39 Page ID #:17




 1 interest rate. So by requiring that the arbitrator apply Utah law, the arbitration
 2 clause waives all the borrowers’ claims and deprives them of any remedy for
 3 Opportunity Financial’s misconduct. An arbitrator could not apply California
 4 law to determine whether the contract is unconscionable and could not even
 5 limit the application of the choice of law clause to the extent necessary to
 6 prevent substantial injustice, as California requires. Thus, the clause is overly
 7 harsh, unduly oppressive, and so one sided as to shock the conscious.
 8        93.   Third, the arbitration clause also requires arbitrating claims as a
 9 private attorney general or for public injunctive relief. That requirement is void
10 and unenforceable under California law.
11        94.   Fourth, the arbitration clause provides that “No arbitration award
12 under this Agreement will affect any dispute involving any other party. No
13 arbitration award under another party's agreement will affect any arbitration
14 under this Agreement.” This is unlawful and void because it violates
15 fundamental principles of res judicata, collateral estoppel, and issue preclusion.
16        95.   Imagine if a borrower gets an order declaring the loans unlawful or
17 a violation of RICO. That order becomes final. Fundamental offensive issue
18 preclusion would treat that point as established against Opportunity Financial
19 in all cases. If other borrowers sued, the only question remaining would be
20 damages because liability is established.
21        96.   The arbitration clause effectively bars the arbitrator from applying
22 any state or federal law on res judicata, collateral estoppel, or issue preclusion
23 and bars the arbitrator from affording relief that would be required in a court
24 of law.
25        97.   Fifth, the entire loan contract is void because it is unconscionable.
26        98.   Sixth, the entire loan contract is void due to fraud and fraudulent
27 concealment.
28
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                                         complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 18 of 39 Page ID #:18




 1        99.     The loan contracts irrevocably appointed Opportunity Financial as
 2 the borrowers’ agent. Opportunity Financial therefore owed fiduciary duties to
 3 the borrowers.
 4        100. Opportunity Financial intentionally failed to disclose that
 5 California law caps the interest rates at no more than 36% APR plus the
 6 federal funds rate. Opportunity Financial also intentionally failed to disclose
 7 that it buys 95% of the loans shortly after they are issued.
 8        101. Opportunity Financial disclosed certain alleged factual
 9 statements—i.e., that it was purportedly just the servicer on the loan. It also
10 represented that the loans were enforceable. These representations were
11 materially false. Opportunity Financial made the misrepresentations knowing
12 they were false or alternatively made them recklessly and without regard for
13 their truth.
14        102. Even if not false, the representations were deceptive because
15 Opportunity Financial failed to disclose that it buys 95% of the loans shortly
16 after they are issued, along with all other facts related to Opportunity Financial
17 being the true lender.
18        103. The borrowers did not know of the concealed facts.
19        104. Opportunity Financial intended to deceive the borrowers by
20 concealing the facts.
21        105. Had the information been disclosed, the borrowers reasonably
22 would have behaved differently. The borrowers were harmed, and Opportunity
23 Financial’s concealment was a substantial factor in causing their harm.
24        106. With the arbitration clause invalidated, the jury trial and class
25 action waivers are also invalidated and unenforceable under California law.
26
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                                         complaint
Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 19 of 39 Page ID #:19




 1         E.   Ms. Carpenter and Mr. Cason’s loans are both for 159.56% APR over an 11
           month term.
 2
           107. Ms. Carpenter took out a loan from Opportunity Financial in mid-
 3
     early 2021 for an unlawful interest rate at more than double California’s
 4
     statutory maximum.
 5
           108. She made payments on the loan.
 6
           109. In August 2021, Opportunity Financial emailed her about
 7
     refinancing the loan to get more money. The email contained a link. Ms.
 8
     Carpenter clicked the link, and it took her to Opportunity Financial’s website.
 9
     Ms. Carpenter then refinanced her loan through Opportunity Financial’s
10
     website. She entered a new loan contract for $2,200, with a 159.56% APR and
11
     an 11 month term. Attached as Exhibit A is a true and correct copy of that loan
12
     contract, with certain personal information redacted.
13
           110. Ms. Carpenter has made payments on this August 2021 loan.
14
           111. Mr. Cason has taken out multiple loans with Opportunity
15
     Financial since January 2020.
16
           112. He took out his original loan by visiting Opportunity Financial’s
17
     website. That loan was for an unlawful interest rate at more than double
18
     California’s statutory maximum.
19
           113. He made payments on that loan. Then about a month-and-a-half
20
     later, Opportunity Financial emailed him that he was eligible to refinance and
21
     directed Mr. Cason to his account page on Opportunity Financial’s website.
22
           114. Opportunity Financial offered Mr. Cason multiple refinances. Each
23
     time, he was directed to Opportunity Financial’s website. He went to the
24
     website, and Opportunity Financial ultimately proposed to loan him more
25
     money and refinance his old loan. He accepted and refinanced, entering a new
26
     loan contract with Opportunity Financial.
27
28
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                                          complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 20 of 39 Page ID #:20




 1        115. The last time this happened was in September 2021. It culminated
 2 in Mr. Cason entering a new loan contract for $2,900, with a 159.6% APR
 3 and an 11 month term. Attached as Exhibit B is a true and correct copy of that
 4 loan contract, with certain personal information redacted.
 5        116. Mr. Cason has made payments on this September 2021 loan.
 6        117. Ms. Carpenter and Mr. Cason’s loan contracts are pre-printed form
 7 contracts. Their terms were dictated by Opportunity Financial, and they had no
 8 opportunity for negotiation or modification.
 9        118. At no point has Ms. Carpenter or Mr. Cason ever communicated
10 with any person employed by FinWise bank. All their communications were
11 with Opportunity Financial.
12 V.     Public Interest Allegations
13        119. One of the remedies sought by Ms. Carpenter and Mr. Cason is a
14 public injunction for the benefit of the general public of the State of California.
15 Public injunctive relief is relief that by and large benefits the general public.
16 McGill v. Citibank, N.A., 2 Cal. 5th 945, 955 (2017). Any benefits to the
17 plaintiff are either incidental or come from her being a member of the general
18 public. Id.
19        120. Injunctive relief under the UCL is relief that has “the primary
20 purpose and effect” of prohibiting unlawful acts that threaten future injury to
21 the general public. Id.
22        121. Public injunctive relief can be sought by any person who has lost
23 money as a result of the unfair business practice. Id. at 959.
24        122. Obtaining public injunctive relief does not require class
25 certification. Id. at 960.
26        123. Opportunity Financial’s business practices threaten future injury to
27 the general public of the State of California. Opportunity Financial focuses and
28 directs its marketing activities at low-income California residents who are in
                                             20
                                          complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 21 of 39 Page ID #:21




 1 desperate need of cash and who are vulnerable to exploitation. Ultrahigh
 2 interest rate consumer loans—like the loans offered by Opportunity Financial—
 3 trap many low-income consumers in cycles of debt and bankruptcy. In fact,
 4 persons who take out these loans are twice as likely to file for bankruptcy than
 5 others. Paige Marta Skiba & Jeremy Tobacman, Do Payday Loans Cause
 6 Bankruptcy?, 62 J. of Law & Econ. 485 (2019). These consequences, in turn,
 7 increase the borrowers’ reliance on taxpayer-funded government services. The
 8 California legislature enacted the Financial Code’s interest-rates limits to
 9 prevent this exploitation.
10        124. Opportunity Financial’s business practices are injurious to the
11 general public. Public injunctive relief is therefore warranted.
12 VI.    Class Action Allegations
13        125. Ms. Carpenter and Mr. Cason also bring this lawsuit as a class
14 action under Federal Rule of Civil Procedure 23. The putative class (“Class”) is
15 defined as follows:
16              All individuals in California who obtained a loan from,
                through, by way of, or with the assistance of Opportunity
17              Financial:
18                    (1) on or after January 1, 2020, with an original
19                    principal loan amount of between $2,500 and
                      $9,999, inclusive, and an APR of 37.7% or greater;
20
                      (2) on or after December 23, 2017, with an original
21                    principal loan amount of between $1 and $349,
22                    inclusive, and an APR of 30.1% or greater;

23                    (3) on or after December 23, 2017, with an original
                      principal loan amount of between $350 and $499,
24                    inclusive, and an APR of 27.9% or greater;
25                    (4) on or after December 23, 2017, with an original
                      principal loan amount of between $500 and $999,
26                    inclusive, and an APR of 26.8% or greater; or
27
28
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                                         complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 22 of 39 Page ID #:22




 1                   (5) on or after December 23, 2017, with an original
                     principal loan amount of between $1,000 and
 2                   $2,499, and an APR of 24.8% or greater.
 3              Excluded from the Class are all employees of
 4              Opportunity Financial and any judicial officer assigned
                to this case.
 5
          126. The Class has one sub-class: the RICO Sub-Class.
 6
          127. The RICO Sub-Class is defined as follows:
 7
 8              All individuals in California who obtained a loan from,
 9              through, by way of, or with the assistance of Opportunity
                Financial:
10
                     (1) on or after January 1, 2020, with an original
11                   principal loan amount of between $2,500 and
12                   $9,999, inclusive, and an APR of 75.4% or greater;

13                   (2) on or after December 23, 2017, with an original
                     principal loan amount of between $1 and $349,
14                   inclusive, and an APR of 60.2% or greater;
15                   (3) on or after December 23, 2017, with an original
                     principal loan amount of between $350 and $499,
16                   inclusive, and an APR of 55.8% or greater;
17                   (4) on or after December 23, 2017, with an original
18                   principal loan amount of between $500 and $999,
                     inclusive, and an APR of 53.6% or greater; or
19
                     (5) on or after December 23, 2017, with an original
20                   principal loan amount of between $1,000 and
                     $2,499, and an APR of 49.6% or greater.
21
                Excluded from the RICO Sub-Class are all employees of
22              Opportunity Financial and any judicial officer assigned
23              to this case.
24        128. Numerosity. The size of the Class and RICO Sub-Class each
25 comprise at least thousands of persons. The size of the Class and RICO Sub-
26 Class grows daily.
27        129. Ascertainability. The members of the Class and RICO Sub-Class
28 can be ascertained from Opportunity Financial’s business records.
                                           22
                                        complaint
Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 23 of 39 Page ID #:23




 1         130. Common Questions of Fact or Law. The lawsuit is suitable for
 2 class treatment because questions of law and fact have common answers that
 3 are the same for the Class and the RICO Sub-Class, and those questions
 4 predominate over questions affecting only individual members. These common
 5 questions of law and fact include:
 6               •      Whether Opportunity Financial is the true lender on the
                 loans;
 7
                 •      Whether the loans are governed by California law;
 8
                 •      Whether Opportunity Financial willfully charged an interest
 9               rate in excess of what’s allowed under California law;
10               •     Whether Opportunity Financial’s noncompliance with
11               California law is willful;
12               •      Whether the arbitration agreement is void;
13               •      Whether the loans are void; and
14               •    The appropriate remedies for Opportunity Financial’s
                 misconduct.
15
           131. Typicality and Adequacy. Ms. Carpenter and Mr. Cason’s claims
16
     are typical of the claims of the members of the Class and the RICO Sub-Class.
17
     The evidence and the legal theories about Opportunity Financial’s alleged
18
     wrongful conduct are substantially the same for Ms. Carpenter, Mr. Cason,
19
     and all members of the Class and the RICO Sub-Class. Ms. Carpenter and Mr.
20
     Cason will fairly and adequately represent and protect the interests of the Class
21
     and the RICO Sub-Class and have no interests adverse to them.
22
           132. Superiority. This action is superior to other available methods for
23
     fairly and efficiently adjudicating the issues. Class certification will not present
24
     any significant management difficulties. Class certification would also conserve
25
     judicial resources and avoid the possibility of inconsistent judgments. The
26
     expense and burden of individual litigation would make it very difficult or
27
28
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                                           complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 24 of 39 Page ID #:24




 1 impossible for individual Class members to redress the wrongs done to them
 2 without a class action.
 3         133. Conduct on Grounds that Apply to the Class. Defendants have
 4 acted or refused to act on grounds that apply generally to the Class and the
 5 RICO Sub-Class, so that final injunctive relief or corresponding declaratory
 6 relief is appropriate respecting the Class and RICO Sub-Class as a whole.
 7 VII. Causes of Action
 8         134. Ms. Carpenter and Mr. Cason re-allege and incorporate by
 9 reference all the preceding paragraphs and allegations in each of the following
10 causes of action.
11                              First Cause of Action
   for Unfair Competition (Bus. & Prof. Code § 17200) — Violation of California Financial
12 Code by Carpenter and Cason, on behalf of themselves, all persons similarly situated, and
13                         the general public, against Defendants
14         135. The Unfair Competition Law, Business and Professions Code
15 sections 17200 et seq. (“UCL”), defines unfair competition to include any
16 “unlawful” or “unfair” business act or practice. Cal. Bus. & Prof. Code §
17 17200.
18         136. Ms. Carpenter, Mr. Cason, and the Class’ loan transactions with
19 Defendants are “consumer loans” under California Financial Code section
20 22203.
21         137. The Class’ loan transactions with Opportunity Financial involve
22 loans that: (1) were made on or after January 1, 2020, with an original
23 principal loan amount of between $2,500 and $9,999, inclusive, and an interest
24 rate of 37.7% or greater; (2) were made on or after December 23, 2017, with
25 an original principal loan amount of between $1 and $349, inclusive, and an
26 APR of 30.1% or greater; (3) were made on or after December 23, 2017, with
27 an original principal loan amount of between $350 and $499, inclusive, and an
28 APR of 27.9% or greater; (4) were made on or after December 23, 2017, with
                                              24
                                           complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 25 of 39 Page ID #:25




 1 an original principal loan amount of between $500 and $999, inclusive, and an
 2 APR of 26.8% or greater; or (5) were made on or after December 23, 2017,
 3 with an original principal loan amount of between $1,000 and $2,499, and an
 4 APR of 24.8% or greater.
 5        138. The first category of loans violates California Financial Code
 6 sections 22304.5 and 22306.
 7        139. The remaining categories of loans violate California Financial Code
 8 sections 22303 and 22306.
 9        140. By issuing loans to Ms. Carpenter, Mr. Cason, and the Class
10 members that bear interest in excess of the maximum rate authorized by the
11 California Financial Code, Defendants have engaged in a business practice that
12 is “unlawful” under the UCL. De La Torre v CashCall, Inc., 5 Cal. 5th 966,
13 976–81 (2018) (the UCL “supplies a cause of action to police” conduct that is
14 declared unlawful by the California Financial Code).
15        141. In connection with Ms. Carpenter, Mr. Cason, and the Class
16 members’ loan transactions, Defendants willfully contracted for, charged, and
17 received interest in excess of the maximum rate permitted by California
18 Financial Code sections 22303 and 22304.5.
19        142. Apart from the rent-a-bank scheme, Opportunity Financial is
20 separately liable because it violated California Financial Code section 22324.
21 “Any person who contracts for or negotiates in this state a loan to be made
22 outside the state for the purpose of evading or avoiding the provisions of this
23 division is subject to the provisions of this division.” Cal. Fin. Code § 22324.
24 Opportunity Financial is a licensed California Finance Lender, and it
25 contracted for a loan to be purportedly made outside California for the purpose
26 of evading California interest rate caps.
27        143. On top of being unlawful, Defendants’ business practices are
28 “unfair” under the UCL. Defendants’ acts and omissions violate obligations
                                            25
                                         complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 26 of 39 Page ID #:26




 1 imposed by statute, are substantially injurious to consumers, offend public
 2 policy, and are immoral, unethical, oppressive, and unscrupulous as the gravity
 3 of the conduct outweighs any alleged benefits attributable to such conduct.
 4        144. Ms. Carpenter, Mr. Cason, and the Class members have suffered
 5 an injury in fact and lost money or property as a result of Defendants’ business
 6 practices. They have paid illegal interest rates on unenforceable and void loans.
 7 They have also repaid principal that, under the California Financial Code,
 8 Opportunity Financial was not entitled to because of its willful misconduct.
 9        145. Pursuant to California Business and Professions Code section
10 17203, Ms. Carpenter and Mr. Cason seek an order for the benefit of the
11 general public of the State of California, (i) enjoining Defendants from making
12 loans to consumers in the State of California that violate Financial Code
13 sections 22303, 22304.5, 22305, and/or 22306; (ii) declaring the loan contracts
14 void; (iii) requiring Defendants to give individualized notice to all Class
15 members of theirs rights under California law, including the previously
16 mentioned California Financial Code sections; (iv) requiring Defendants to
17 provide individualized notice to each such consumer of the procedures available
18 for enforcing the consumer’s rights under applicable California laws; and (v)
19 establishing an effective monitoring mechanism to ensure Defendants’
20 continued compliance with the terms of the injunction.
21        146. Pursuant to California Business and Professions Code section
22 17203 and California Financial Code section 22750, Ms. Carpenter, Mr.
23 Cason, and the Class members are entitled to restitution of all amounts paid to
24 Defendants pursuant to the loan contracts at issue. Alternatively, in the event of
25 a judicial determination that Defendants’ violations of California Financial
26 Code sections 22303 and 22304.5 were not willful, then pursuant to California
27 Business and Professions Code section 17203 and California Financial Code
28
                                            26
                                         complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 27 of 39 Page ID #:27




 1 section 22751, Ms. Carpenter, Mr. Cason, and Class members are entitled to
 2 restitution of all interest charged on the loans.
 3                              Second Cause of Action
     for Unfair Competition (Bus. & Prof. Code § 17200) — Doctrine of Unconscionability
 4   by Carpenter and Cason, on behalf of themselves, all persons similarly situated, and the
 5                            general public, against Defendants
 6        147. A loan contract that includes an interest rate term so high that it is
 7 “unreasonably … harsh,” “unduly oppressive,” or “so one-sided as to shock
 8 the conscience” is deemed unconscionable. See De La Torre, 5 Cal. 5th at 972.
 9 A contract or its terms is unconscionable if it is both procedurally and
10 substantively unconscionable. Armendariz v. Found. Health Psychcare Servs.,
11 Inc., 24 Cal. 4th 83, 114 (2000).
12        148. The loan contracts at issue are procedurally unconscionable for at
13 least the following reasons: (i) Opportunity Financial maintains unequal
14 bargaining power as compared to consumers who receive such loans; (ii)
15 Opportunity Financial has greater economic power, knowledge, experience,
16 and resources than the consumers who receive such loans; (iii) Opportunity
17 Financial targets its advertising to consumers experiencing serious financial
18 challenges, many of whom lack meaningful credit alternatives; (iv) Opportunity
19 Financial emphasizes the speed of its loan process, thus providing inadequate
20 time for investigation or reflection on the part of consumers; (v) borrowers do
21 not receive an adequate or independent explanation of the terms of the loan
22 agreement; (vi) the loan contracts are form documents prepared exclusively by
23 Opportunity Financial and presented to borrowers on a take-it-or-leave-it basis,
24 with no opportunity for negotiation; and (vii) the loan contracts constitute
25 consumer contracts of adhesion.
26        149. The loan contracts at issue are substantively unconscionable
27 because they impose a cost on the borrower that is overly harsh and
28 disproportionate to the price of credit and related costs. Among other things,
                                               27
                                            complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 28 of 39 Page ID #:28




 1 Defendants charge interest rates that are more than four times the statutory
 2 maximum established by California Financial Code sections 22303 and
 3 22304.5. The terms of the loans have overly harsh consequences, resulting in
 4 total interest payments that almost equal the principal amount of the loan.
 5 There is also no legitimate basis for charging such exorbitant interest rates.
 6        150. The loan contracts at issue are “unlawful” under the UCL because
 7 the loans violate California Civil Code section 1670.5 and California Financial
 8 Code section 22302(b). California Civil Code section 1670.5 states: “If the
 9 court finds as a matter of law the contract or any clause of the contract to have
10 been unconscionable at the time it was made the court may refuse to enforce
11 the contract ….” California Financial Code section 22302(b) states: “A loan
12 found to be unconscionable pursuant to Section 1670.5 of the Civil Code shall
13 be deemed to be in violation of this division and subject to the remedies
14 specified in this division.”
15        151. The loan contracts at issue are “unfair” under the UCL.
16 Defendants’ acts and omissions violate obligations imposed by statute, are
17 substantially injurious to consumers, offend public policy, and are immoral,
18 unethical, oppressive, and unscrupulous as the gravity of the conduct outweighs
19 any alleged benefits attributable to such conduct.
20        152. Ms. Carpenter, Mr. Cason, and the Class members have suffered
21 an in injury in fact and lost money or property as a result of Defendants’
22 business practices.
23        153. Pursuant to California Business and Professions Code section
24 17203, Ms. Carpenter and Mr. Cason seek an order for the benefit of the
25 general public of the State of California, (i) enjoining Defendants from making
26 loans to consumers in the State of California that are unconscionable under
27 California law; (ii) declaring the loan contracts void; (iii) requiring Defendants
28 to give individualized notice to all Class members of their rights under all
                                            28
                                         complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 29 of 39 Page ID #:29




 1 applicable laws, including laws relating to unconscionability; (iv) requiring
 2 Defendants to provide individualized notice to each such consumer of the
 3 procedures available for enforcing the consumer’s rights under applicable
 4 California laws; and (v) establishing an effective monitoring mechanism to
 5 ensure Defendants’ continued compliance with the terms of the injunction.
 6          154. Pursuant to California Business and Professions Code section
 7 17203, Ms. Carpenter, Mr. Cason, and Class members are entitled to
 8 restitution of all amounts paid to Defendants pursuant to the loan contracts at
 9 issue.
10                                Third Cause of Action
                                 for Money Had and Received
11    by Carpenter and Cason, on behalf of themselves, all persons similarly situated, and the
12                             general public, against Defendants
13          155. Defendants have received money in the form of principal and
14 interest that is the property of Ms. Carpenter, Mr. Cason, and the Class
15 members. In equity and good conscience, Defendants must restore that money
16 to Ms. Carpenter, Mr. Cason, and the Class members.
17                           Fourth Cause of Action
                                  for Declaratory Relief
18 by Carpenter and Cason, on behalf of themselves, all persons similarly situated, and the
19                          general public, against Defendants

20          156. California and federal law allow a party to obtain a judicial

21 declaration on rights or duties under a written contract. An actual and present
22 controversy has arisen on the rights and duties of the respective parties under
23 the loan contracts.
24       157. Ms. Carpenter and Mr. Cason, on behalf of themselves, the general

25 public and the Class, contend that Opportunity Financial is the true lender on
26 the loans; that the loan agreements are governed by California law; the
27 arbitration clause, jury waiver, class waiver, waiver of public injunction relief,
28 prohibition of res judicata, collateral estoppel, and issue preclusion, and
                                                29
                                             complaint
Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 30 of 39 Page ID #:30




 1 requirement that public injunctive relief claims be stayed are all
 2 unconscionable, void, and unenforceable; and the loan contracts are
 3 unconscionable, void, and unenforceable. On the other hand, Defendants
 4 contend that the Utah bank is the true lender on the loans at issue; that the loan
 5 agreements are governed by Utah law; and that the loan contracts and
 6 arbitration clauses are valid and enforceable.
 7        158. Accordingly, Ms. Carpenter, Mr. Cason, and the Class seek a
 8 judicial declaration that:
 9               •     Opportunity Financial is the true lender on the loans;
10               •     the loans are governed by California law;
11               •    the loan contracts are void and unenforceable against Ms.
                 Carpenter, Mr. Cason, and the Class members;
12
                 •    the loan contracts’ arbitration clause is unconscionable, void,
13               and unenforceable;
14               •    the loan contracts’ class waiver is unconscionable, void, and
                 unenforceable;
15
                 •    the loan contracts’ jury waiver is unconscionable, void, and
16               unenforceable;
17               •     the loan contracts’ waiver of the right to seek a public
                 injunction is unconscionable, void, and unenforceable;
18
                 •     the loan contracts’ prohibition of res judicata, collateral
19               estoppel, and issue preclusion is unconscionable, void, and
20               unenforceable;

21               •     the loan contracts’ requiring that a case alleging public
                 injunctive relief must be stayed until after an arbitration of a claim
22               seeking individual relief is unconscionable, void, and
                 unenforceable; and
23
                 •    the loan contracts are unconscionable, void, and
24               unenforceable.
25                                Fifth Cause of Action
          for Violation of 18 U.S.C. § 1962(c) (RICO Association-in-Fact Enterprise)
26   by Carpenter and Cason, on behalf of themselves, all persons similarly situated, and the
27                             general public, against Defendants

28        159. Opportunity Financial violated 18 U.S.C. § 1962(c).
                                               30
                                            complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 31 of 39 Page ID #:31




 1        160. Association in-fact enterprise. The Illegal Loans Enterprise engaged
 2 in activities that affected interstate commerce.
 3        161. The Illegal Loans Enterprise is an association-in-fact enterprise of
 4 corporate entities and individuals. It comprises persons associated together for
 5 a common purpose.
 6        162. The Illegal Loans Enterprise has an ongoing organization with an
 7 ascertainable structure and functions as continuing unit with separate roles and
 8 responsibilities.
 9        163. While the members of the Illegal Loans Enterprise participate in the
10 conduct of that enterprise, they each have an existence separate and distinct
11 from the enterprise.
12        164. The following persons, and others presently unknown, have been
13 members of and constitute an association-in-fact enterprise within the meaning
14 of RICO, and will be referred to collectively as the Illegal Loans Enterprise:
15              •    Opportunity Financial: the creator, director, funder,
                implementer, orchestrator, and operator of the rent-a-bank scheme;
16              and
17              •     FinWise: the bank that agreed to be rented by allowing
                Opportunity Financial to purportedly close loans in FinWise’s
18              name, while Opportunity Financial maintains all risk of loss and
                holds the predominant economic interest.
19
20        165. Each of these entities holds uniquely distinct roles.

21        166. Operation and control of the Illegal Loans Enterprise. At all

22 relevant times, Opportunity Financial knowingly conducted the Illegal Loans
   Enterprise’s affairs or knowingly participated, directly or indirectly, in the
23
   conduct of the enterprise’s affairs.
24
         167. At all relevant times, Opportunity Financial operated, controlled,
25
   or managed the Illegal Loans Enterprise through various actions.
26
         168. Opportunity Financial directed, operated, and managed the affairs
27
   of the Illegal Loans Enterprise.
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                                         complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 32 of 39 Page ID #:32




 1        169. Opportunity Financial could not accomplish the enterprise’s affairs
 2 on its own. To succeed in states with interest rate caps, Opportunity Financial
 3 needed to rent a bank that Opportunity Financial could claim as the purported
 4 lender on the loans.
 5        170. Opportunity Financial rented at least three Utah state-chartered
 6 banks, primarily FinWise. Opportunity Financial entered contracts with those
 7 banks to effect the rent-a-bank scheme and the Illegal Loans Enterprise. The
 8 Illegal Loans Enterprise and rent-a-bank scheme could not proceed without
 9 those banks.
10        171. Common purpose of the Illegal Loans Enterprise. The common
11 purpose of the Illegal Loans Enterprise is to enter loan transactions with the
12 Class at interests rates of at least 75.4% (for loans issued on or after January 1,
13 2020, with an original principal loan amount of between $2,500 and $9,999),
14 60.2% (for loans of $1 and $349), 55.8% (for loans of $350 to $499), 53.6%
15 (for loans of $500 to $999), and 49.6% (for loans of $1,000 to $2,499).
16        172. Collection of unlawful debt. It is unlawful for a RICO enterprise to
17 engage in the collection of an “unlawful debt.” 18 U.S.C. § 1962(c).
18        173. An “unlawful debt” is a debt (A) “which is unenforceable under
19 State or Federal law in whole or in part as to principal or interest because of
20 the laws relating to usury” and (B) “which was incurred in connection with …
21 the business of lending money or a thing of value at a rate usurious under State
22 or Federal law, where the usurious rate is at least twice the enforceable rate.”
23 18 U.S.C. § 1961(6).
24        174. The loans that Opportunity Financial issued to Ms. Carpenter, Mr.
25 Cason, and the RICO Sub-Class are unlawful debts under RICO.
26        175. The loans issued to Ms. Carpenter, Mr. Cason, and the RICO Sub-
27 Class are more than four times the amount permitted by California laws
28 relating to usury.
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                                         complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 33 of 39 Page ID #:33




 1        176. The loans issued to Ms. Carpenter, Mr. Cason, and the RICO Sub-
 2 Class were incurred in connection with the business of lending money at a rate
 3 usurious under California law, where the usurious rate is at least twice the
 4 enforceable rate.
 5        177. California law caps the interest rate on loans issued on or after
 6 January 1, 2020, with an original principal loan amount of between $2,500
 7 and $9,999, inclusive, at no more than 37.6% APR.
 8        178. California law caps the interest rate on loans with an original
 9 principal loan amount of between $1 and $349, inclusive, at no more than
10 30%.
11        179. California law caps the interest rate on loans with an original
12 principal loan amount of between $350 and $499, inclusive, at no more than
13 27.85%.
14        180. California law caps the interest rate on loans with an original
15 principal loan amount of between $500 and $999, inclusive, at no more than
16 26.7%.
17        181. California law caps the interest rate on loans with an original
18 principal loan amount of between $1,000 and $2,499, at no more than
19 24.75%.
20        182. Opportunity Financial’s loans are unenforceable under California’s
21 laws relating to usury.
22        183. Under California law, if a lender willfully charged, contracted for,
23 or received more than the maximum interest rate, the debt is unenforceable in
24 whole. The loan contract is void, and the lender lacks any right to collect or
25 receive any principal, charges, or recompense in connection with the
26 transaction. Cal. Fin. Code § 22750. Defendants willfully violated California
27 law. The same goes if the lender willfully violated the California Financial
28 Code. Id.§ 22750(b).
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                                        complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 34 of 39 Page ID #:34




 1        184. If the violation was not willful, the debt is unenforceable in part.
 2 The lender forfeits all interest and charges on the loan and may collect or
 3 receive only the principal amount of the loan. Cal. Fin. Code §§ 22751–52.
 4        185. A single instance of a collection of an unlawful debt violates RICO.
 5 That said, Opportunity Financial engaged in widespread misconduct and issued
 6 at least thousands of loans to the RICO Sub-Class. All of these loans are
 7 unlawful debts under RICO.
 8        186. Longevity. The Illegal Loans Enterprise has a longevity sufficient to
 9 permit Opportunity Financial to pursue the enterprise’s purpose. Opportunity
10 Financial spent years, material amounts of money, and significant time and
11 resources to develop the rent-a-bank scheme. It has been operating that scheme
12 for at least five years.
13        187. Injury. Ms. Carpenter, Mr. Cason, and the RICO Sub-Class were
14 injured as a direct result of Opportunity Financial’s violations of 18 U.S.C. §
15 1962(c), by the payment of unlawful and usurious interest rates on loans made
16 by Opportunity Financial which would not have been made but for
17 Opportunity Financial’s conduct.
18        188. Ms. Carpenter, Mr. Cason, and the RICO Sub-Class were also
19 injured because they made payments repaying principal. Opportunity Financial
20 was not entitled to the return of principal because its conduct was a willful
21 violation of California law.
22        189. Opportunity Financial is liable for actual damages, treble damages,
23 and legal fees pursuant to 18 U.S.C. § 1964(c).
24                                Sixth Cause of Action
                   for Violation of 18 U.S.C. § 1962(d) (RICO Conspiracy)
25   by Carpenter and Cason, on behalf of themselves, all persons similarly situated, and the
26                             general public, against Defendants
27        190. Ms. Carpenter and Mr. Cason re-allege and incorporate paragraphs
28 159–189.
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                                            complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 35 of 39 Page ID #:35




 1         191. Opportunity Financial violated 18 U.S.C. § 1962(d) by conspiring
 2 to violate § 1962(c).
 3         192. Opportunity Financial knowingly agreed to facilitate the Illegal
 4 Loans Enterprise, which allowed the enterprise to make and collect unlawful
 5 debt at more than twice the lawful rate of interest under California usury law.
 6         193. This knowledge is evidenced in part by Opportunity Financial’s
 7 spearheading the creation of the rent-a-bank scheme.
 8         194. Ms. Carpenter, Mr. Cason, and the RICO Sub-Class were injured
 9 as a direct result of Opportunity Financial’s violations of 18 U.S.C. § 1962(d),
10 by the payment of unlawful and usurious interest rates on loans made by
11 Opportunity Financial which would not have been made but for Opportunity
12 Financial’s conduct.
13         195. Ms. Carpenter, Mr. Cason, and the RICO Sub-Class were also
14 injured because they made payments repaying principal. Opportunity Financial
15 was not entitled to the return of principal because its conduct was a willful
16 violation of California law.
17       196. Opportunity Financial is liable for actual damages, treble damages,
18 and legal fees pursuant to 18 U.S.C. § 1964(c).
19                           Seventh Cause of Action
                               for Fraudulent Concealment
20 by Carpenter and Cason, on behalf of themselves, all persons similarly situated, and the
21                     general public, against Opportunity Financial

22         197. Opportunity Financial committed fraudulent concealment.
23         198. Under the loan contracts, Opportunity Financial is the agent of Ms.
24 Carpenter, Mr. Cason, and the Class. Opportunity Financial therefore owes
25 them fiduciary duties.
26         199. Opportunity Financial intentionally failed to disclose that
27 California law caps the interest rates at no more than 36% APR plus the
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                                            complaint
 Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 36 of 39 Page ID #:36




 1 federal funds rate. Opportunity Financial also intentionally failed to disclose
 2 that it buys 95% of the loans shortly after they are issued.
 3        200. Opportunity Financial disclosed certain alleged factual
 4 statements—i.e., that it was purportedly just the servicer on the loan. It also
 5 represented that the loans were enforceable. These representations were
 6 materially false. Opportunity Financial made the misrepresentations knowing
 7 they were false or alternatively made them recklessly and without regard for
 8 their truth. Even if not false, the representations were deceptive because
 9 Opportunity Financial failed to disclose that it buys 95% of the loans shortly
10 after they are issued, along with all other facts related to Opportunity Financial
11 being the true lender.
12        201. Ms. Carpenter, Mr. Cason, and the Class did not know of the
13 concealed facts.
14        202. Ms. Carpenter, Mr. Cason, and the Class, as unsophisticated
15 subprime borrowers (compared to the sophisticated financial services company
16 Opportunity Financial), could not reasonably discover the concealed facts.
17        203. Opportunity Financial intended to deceive Ms. Carpenter, Mr.
18 Cason, and the Class by concealing the facts.
19        204. Had the information been disclosed, Ms. Carpenter, Mr. Cason,
20 and the Class reasonably would have behaved differently. Ms. Carpenter, Mr.
21 Cason, and the Class were harmed, and Opportunity Financial’s concealment
22 was a substantial factor in causing their harm.
23 VIII. Prayer for Relief
24        205. Ms. Carpenter and Mr. Cason request that the Court enter the
25 following relief against Defendants as follows:
26              •     An order certifying the Class and RICO Sub-Class;
27              •     Judgment against Defendants;
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                                         complaint
Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 37 of 39 Page ID #:37




 1             •     Compensatory damages, including all interest payments,
               payments of principal, and owed interest payments, in an amount
 2             yet to be ascertained, in an exact amount that is yet to be
 3             ascertained;
 4             •     Treble and punitive damages, in an amount yet to be
               ascertained;
 5
               •      An order declaring that: (1) Opportunity Financial is the true
 6             lender on the loans; (2) the loans are governed by California law;
 7             (3) the loan contracts are void and unenforceable against Ms.
               Carpenter, Mr. Cason, and the Class members; (4) the loan
 8             contracts’ arbitration clause is unconscionable, void, and
               unenforceable; (5) the loan contracts’ class waiver is
 9             unconscionable, void, and unenforceable; (6) the loan contracts’
10             jury waiver is unconscionable, void, and unenforceable; (7) the loan
               contracts’ waiver of the right to seek a public injunction is
11             unconscionable, void, and unenforceable; (8) the loan contracts’
12             prohibition of res judicata, collateral estoppel, and issue preclusion
               is unconscionable, void, and unenforceable; (9) the loan contracts’
13             requiring that a case alleging public injunctive relief must be stayed
               until after an arbitration of a claim seeking individual relief is
14             unconscionable, void, and unenforceable; and (10) the loan
15             contracts are unconscionable, void, and unenforceable;
16             •     Prejudgment interest;
17             •      A public injunction for the benefit of the People of the State
               of California that (1) bars Opportunity Financial from directly or
18             indirectly offering, providing, advertising, or acting as a service
19             provider for any loans over the maximum interest rate; (2)
               requiring Defendants to give individualized notice to all Class
20             members of their rights under all applicable laws; (3) requiring
               Defendants to provide individualized notice to each such consumer
21             of the procedures available for enforcing the consumer’s rights
22             under applicable California laws; (4) voiding the loans and barring
               Opportunity Financial from enforcing them, and (5) establishing an
23             effective monitoring mechanism to ensure Defendants’ continued
24             compliance with the terms of the injunction;

25             •     Restitution of all money paid to Defendants, in an amount
               yet to be ascertained;
26
               •    Legal fees pursuant to 18 U.S.C. § 1964(c) and California
27             Code of Civil Procedure § 1021.5;
28             •     Costs; and
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                                       complaint
Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 38 of 39 Page ID #:38




 1             •    For such other relief that the Court deems just and proper.
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     Dated: December 22, 2021               WARREN TERZIAN LLP
 3
 4
 5                                          Dan Terzian

 6                                          Counsel for Plaintiffs
                                            Crystal Carpenter and Jordan Cason
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Case 2:21-cv-09875-FLA-E Document 1 Filed 12/22/21 Page 39 of 39 Page ID #:39




 1                          DEMAND FOR JURY TRIAL
 2        Plaintiffs Crystal Carpenter and Jordan Cason demand a trial by jury on
 3 all claims so triable.
 4
 5 Dated: December 22, 2021                  WARREN TERZIAN LLP
 6
 7                                           Dan Terzian
 8                                           Counsel for Plaintiffs
 9                                           Crystal Carpenter and Jordan Cason
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